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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


JOHN HAYNES,                        )
                                    )
       Plaintiff,                   )
                                    )          CIVIL ACTION NO.
       v.                           )           2:22cv431-MHT
                                    )
TROY UNIVERSITY, et al.,            )
                                    )
       Defendants.                  )

                                  ORDER

      It is ORDERED that the motion to dismiss (Doc. 10)

is    set   for    submission,      without      oral    argument,       on

October     25,   2022,    with   any     opposition     brief    due    by

October 18, 2022, and any reply to the opposition due

by October 25, 2022.

      DONE, this the 27th day of September, 2022.

                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE
